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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                        7/24/2020
 Xing Dong Zhang,

                                     Plaintiff,
                                                            1:19-cv-02594 (SDA)
                     -against-
                                                            ORDER SCHEDULING TELEPHONIC
 Ken’s Sushi Bistro, Inc., et al.,                          SETTLEMENT CONFERENCE

                                     Defendants.


STEWART D. AARON, United States Magistrate Judge:

       A settlement conference is scheduled before Magistrate Judge Stewart Aaron on

Wednesday, September 16, 2020 at 10:00 a.m. The settlement shall proceed by telephone unless

the parties advise the Court that they have access to and prefer proceeding by alternative remote

means, such as by video.

       The Court will provide dial-in information to the parties by email before the conference.

The parties must comply with the Settlement Conference Procedures for Magistrate Judge

Stewart D. Aaron, available at https://nysd.uscourts.gov/hon-stewart-d-aaron.

SO ORDERED.

DATED:          New York, New York
                July 24, 2020

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                                                    STEWART D. AARON
                                                    United States Magistrate Judge
